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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


THERESA MULLERY,
                            Plaintiff,                     18-CV-549V(Sr)
v.
                                                           ORDER
JTM CAPITAL MANAGEMENT, LLC,
                            Defendant.




              This case was referred to the undersigned by the Hon. Lawrence J.
Vilardo, pursuant to 28 U.S.C. § 636(b)(1)(A), for pretrial proceedings, including the
entry of a Case Management Order.


              Within twenty-one (21) days of the entry of this Order, attorneys for the
parties shall meet [if a party is unrepresented, the actual party will be directed to meet]
and comply with Rules 26(a)(1) and 26(f) of the Federal Rules of Civil Procedure.
Within fourteen (14) days of this meeting, the parties shall submit a proposed Case
Management Order to the chambers of the undersigned in accordance with Rule 26(f).
The enclosed proposed order shall be considered when formulating said plan but shall
not be a substitute for full compliance with Rule 26(f).


              Attorneys for the parties [if a party is unrepresented, the actual party] shall
also confer about Alternative Dispute Resolution (“ADR”), as part of their discussion of
“the possibilities for a prompt settlement or resolution of the case” pursuant to Rule
26(f). Unless the parties agree to a different intervention, it is presumed that they will
participate in mediation as set forth in the Plan for Alternative Dispute Resolution.1


       1
        A copy of the ADR Plan, a list of ADR Neutrals, and related forms and
documents can be found at http://www.nywd.uscourts.gov or obtained from the Clerk’s
Office.
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              The Magistrate Judge is available to conduct any or all proceedings in a
jury or non-jury civil matter and to order the entry of judgment in the case pursuant to 28
U.S.C. § 636(c). Attached hereto is a Notice of Right to Consent to Disposition of a
Civil Case by a United States Magistrate Judge, together with a consent form, for
consideration by the parties. The parties are encouraged to consider and act
favorably on such consents; however, it is emphasized that there will be no
substantive adverse consequences should the parties elect not to do so. Counsel
are directed to discuss this option with their clients prior to the submission of the
proposed Case Management Order to the Court.


              Following submission of the proposed Case Management Order, the
Court will enter a Case Management Order in accordance with Fed.R.Civ.P. 16(b). A
preliminary pretrial conference will not be scheduled unless requested by the parties or
deemed necessary by the Court.


              SO ORDERED.


DATED:        Buffalo, New York
              May 17, 2019


                                          S/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge




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